NVB 3001 (Effective 1/21)

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Oe ef

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA

Name of Debtor: ~~ ° Case Number:
Mh MeduralS, Dae 24. S07492- bill,

I. Nanre and address of holder of the Equity Interest (the person or entity

en hol. Interest in the Debtor. os to hereinafter as the ssc ha filed s you are oe eo AND TLE D

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xyd4 Green wood bY Ef Check box ityohave neve reseved DEC 2024
Niwer Cu 0 S03 ar ogee fim the Pankruptey cowrtor ty & BANKRUPTCY COURT
OD Check box ifthis address differs from M ARY A. SCHOTT, CLERK

Telephone Number: Z 0 3 . FEY . C l | LV the address on the envelope sent to you by

NOTE: This form SHOULD NOT be used to make a claim against the Debtor for money owed. A separate Proof of Claim
form shoald be osed for that parpose. This form should only be nsed to assert an Equity Interest in the Debtor. An Equity -
Interest fs any right arising from any capital stock and any equity security in any of the Debtor, An equity security is defined
in the Bankruptcy Code as (a) s share in a corporation whether or not transferable or denominated stock or similar COURT USE ONLY
security, (b) interest of a limited partuer in a limited partnership, or (c) warrant or right other than a right to convert, to
parchase, sell, or snhscribe to a share, security, or interest of a kind specified in subsection (2) or (b) herein.

Account or other number by which Interest holder identifies Debtor Cheek here if this claim:
Q / b D replaces a previously filed Proof of Interestdated:
4% l , 1 7 D amends 2 previously filed Proof of Interestdated:

2. name and Address of any person oF entity that isthe record holder for [| 3. Date Equity Interest w tin ES . lun
¢ Equity Interestasserted in this Proof of Inte: wipyc [UAreS tH uA ‘es
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Telephone Number: CB : G7 b . ot Os

4. Total amount of member interest: o t & ¥O §. Certificate number(s}:

6& ‘Type of Equity tnterest:
reps indicate the type of Equity Interest you hold:
Check this box if your Equity Interest is based on an actual member intcrest held in the Debtor.
O Cheek this box ifyour Equity Interest is based on anything else and describe thatinterest:
Description: Lenees iy i

7. Supporting Documents: Attach copies of supporting documents, suck as stock certificates, oplion agrecments, warrants, etc.
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain. If the documents are voluminous, attach a summary.

8. Date-Stamped Capy: To receive on acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and copy of this Proof of

Interest.
9. Signature:
Check the appropriate box.
Tam thecteditor. (1 ] am the creditor's authorized agent. 0) Iam the trustee, or the debtar, O Yam a guarantor, surety, endorser, or othercodebtor.
(Attach copy of power of attomey, ifany.} or their authorized agent. {See Bankruptcy Rule 3005.)
(See Bankruptcy Rule 3604.)

I declare under penalty of perjury that the information provided in this claim is true and lip of my knowledge, info

ion, and reasonable belief.
Print Name: fh : Keane fh pul A il
Tide: Gitte t [ae rf
Company:__ Address and telephone number (if different from notice , tC [ z/\ sf; LLY

addressabove): (Signature) (Date)

Telephone number: 403 . € § Y -SUIZ emaik: S4 feathyovop hol Lis

Penalty for presenting fraudalent claim is a fine of up to $500,000 or imprisonment for up to 3 years, or both, 18 USC. §6 152 AND 3571
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MERRILL bos

A BANK GF AMERICA COMPANY

Onilne at: www.mymerrill.com Account Number:q§§P07 167 24-Hour Assistance: (866) 4MLBUSINESS
BLAGK HILLS PROPERTIES, LLLP . . ,
PLEDGED TO ML LENDER Net Portfolio Value: a
8449 GREENWOOD DR Your Financial Advisor:
LONGMONT CO 80503 SHAMS AND ASSOCIATES Il
370 17TH STREET SUITE 5500 ,
DENVER CO 80202-5656
1-800-876-5505
a B H P November 01, 2024 - November 29, 2024
This Statement Year to Date ASSETS November 29 October 37
ae a Cash/Money Accounts ann
Open MY a Ave ree a Fixed Income - —
Total Credits Equities a quale
Total Debits Mutual Funds - -
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Glos 7 aa na rr Alternative Investments qs
i __ 5 Subtotal (Long Portfolio}
This account Is ntedged as collateral for Loan Management Account # —_— TOTAL ASSETS 8
LIABILITIES
Debit Balance
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TOTAL LIABILITIES - -
NET PORTFOLIO VALUE a a,

3 This statement Is eligible for online delivery. Ga to mi.com/gopaperiess or scan
this code with your phone's camera to get started.

‘Amount Includes alternative investments. Unless othenise noted, alternative
Investments are not registered in the name of nor held by MLPF&S or its nominees
and atternative Investment amounts are provided for Informational purposes only.

Merrifl Lyneh, Plerce, Fenner & Smith incorporated (also referred to as "MLPF&S" or "Merriil") makes available certain investment preducts sponsored, managed, distributed or provided
by companies that are affiliates of Bank of America Corporation (BofA Corp). MLPF&S Is a registered broker-dealer, Member SIPC and a wholly owned subsidiary of BofA Corp.
+ investment products: Aro Not FDIC Insured Are Not Bank Guaranteed May Lose Value

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AHP Account Number: @@Q§07 167 24-Hour Assistance: (866) 4MLBUSINESS
YOUR WCIMA ASSETS

November 01, 2024 - November 29, 2024
OTHER MONEY MARKET MUTUAL FUNDS (continued) Total Estimated «Estimated ~—Unreallred ‘Total fenemve,  Fetimated
Description Quaniiiy Cost Basis Market Price == Market Value —_Galn/ (Lass) hastens iNet a income

Other Money Market Mutual Funds Includes money market mutual funds with a floating nat asset value or whose trade settlement occurs on the business day after the trada date, Money

market mutual funds whose trade settlament typically occurs on the same business day as the trada date will appear In the “Cash/Money Accounts” section.

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CURRENT VIELD 4.057%
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TOTAL VIELD 2.23% —_ —_——> ca -

Equity Cost Basis details are avallabte on the Stataments and Documents page of www.mymenill.com,

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